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 1                                UNITED STATES DISTRICT COURT
 2                              NORTHERN DISTRICT OF CALIFORNIA
 3
                                     SAN FRANCISCO DIVISION
 4
     UNITED STATES OF AMERICA                         Case No. 3:20-cr-00249-RS
 5
                   Plaintiff,                         STIPULATION AND [PROPOSED]
 6
                                                      ORDER REGARDING DEFENDANT
            v.                                        ROWLAND MARCUS ANDRADE’S
 7
                                                      MOTION TO COMPEL DISCOVERY
 8 ROWLAND MARCUS ANDRADE,

 9                 Defendant.

10

11

12                                     [PROPOSED] ORDER

13          Based on the Stipulation of the parties, it is HEREBY ORDERED that, based on the
14
     Stipulation of the parties, Defendant Andrade’s Motion to Compel is hereby WITHDRAWN,
15
     without prejudice.
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17
               July 22, 2022
     Dated: ____________________                        By: ____________________________
18
                                                            HON. LAUREL BEELER
19                                                          United States Magistrate Judge

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                            STI     MOTION TO COMPEL                        3:20-CR-00249-RS
